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                            EXHIBIT 4
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                                                     4757

Teny Geragos

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                                                    U.S. District Court

                                              Southern District of New York

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Case Name:          USA v. Freedman et al
Case Number:        1:18-cr-00217-KMW
Filer:
Document Number: 52

Docket Text:
ORDER as to Gordon Freedman, Jeffrey Goldstein, Todd Schlifstein, Dialecti Voudouris,
Alexandru Burducea. At the September 20, 2018 conference, the Court set the following
schedule for this case, which is still in effect: Defendants' pretrial motions are due to the
Court by January 22, 2019; The Government's opposition is due to the Court by February 27,
2019; Any replies by the defendants are due to the Court by March 20, 2019; By October 14,
2019, the parties shall submit their joint proposed requests to charge and joint voir dire on the
same disc, redlining defendants' different language, right after the text of each Government
charge, and setting forth authorities relied upon; If the parties wish to use a written juror
questionnaire, they shall submit a joint proposed written questionnaire to the Court by
September 30, 2019, on a disc. Mr. Agnifilo must inform the Court of any adjournments or
guilty pleas in his cases set for trial between October 15, 2018 and November 4, 2019. SO
ORDERED. (Motions due by 1/22/2019, Replies due by 3/20/2019, Responses due by 2/27/2019)
(Signed by Judge Kimba M. Wood on 10/16/2018)(ft)




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